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                            TENTH COURT OF APPEALS

Chief Justice
    Tom Gray

Justice
     Rex D. Davis
     Al Scoggins

                          McLennan County Courthouse
                         501 Washington Avenue, Rm 415
                            Waco, Texas 76701-1373
            Phone: (254) 757-5200              Fax: (254) 757-2822



                    Clerk
     Sharri Roessler
                                       
                                August 27, 2015
                                       


In accordance with the enclosed Memorandum Opinion, below is the judgment in the numbered cause set out herein to be entered in the Minutes of this Court as of the 27[th] day of August, 2015.

10-14-00295-CR	CHARLES HERRERA v. THE STATE OF TEXAS - ON APPEAL FROM THE 13[TH] DISTRICT COURT OF NAVARRO COUNTY - TRIAL COURT NO. C-35185-CR  -  AFFIRMED &amp; REMANDED WITH INSTRUCTIONS - Memorandum Opinion by Justice Davis:

	"This cause came on to be heard on the transcript of the record, and the same being considered, because it is the opinion of this Court that there was no error in the judgment of conviction of the court below, but that there were errors in the judgment nunc pro tunc of the court below, it is therefore ordered, adjudged, and decreed that the judgment of conviction be, and hereby is, affirmed.  It is further ordered that the cause is remanded with instructions to the court below that, in a second judgment nunc pro tunc of the court below, the court below correct the spelling of Appellant Charles Herrera's trial counsel's name, delete the $180 restitution amount, and sign and date the second judgment nunc pro tunc in accordance with the opinion of this Court, and that this decision be certified below for observance."



